Case 1:04-cr-10061-.]DT Document 187 Filed 07/08/05 Page 1 of 2 Page|D 251

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UNITED STATES OF AMERlCA

vs CR NO. 1:04-]0061-01-T

TRAVIS LYNN MCCOY

ORDER ON CHANGE OF PLEA
This cause came on to be heard on July 7, 2005, Assistant U. S. Attorney,
Jeny Kitchen, appearing for the government, and the defendant appeared in person
and with counse], J. Colin Morris, who was appointed
With leave of the Court, the defendant withdrew the Not Guilty Plea heretofore entered
and entered a plea of GUILTY as charged in Counts 1 and 9 of the Indictment.

This case has been set for sentencing on Mondav . October 24. 2005. at 8:45

The defendant is remanded to the custody of the United States Marshal.

lT IS SO ORDERED.

 

 

 

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Honorable .1 ames Todd
US DISTRICT COURT

